     Case 23-30013        Doc 119     Filed 03/22/23 Entered 03/22/23 17:51:21      Desc Main
                                       Document     Page 1 of 2



                                     341 First Creditor’s Meeting
                                    Chapter 11 Proceedings Memo

 Debtor:                     B GSE Group, LLC
 Case No.:                   23-30013
 Date / Time:                March 22, 2023 @ 2:00 p.m.
 Continued:
 Individual Testifying:      Bryan Bullerdick
 Title:                      member/manager
 Sworn / Affirmed:              YES        NO
 Debtor Attorney:            Richard S. Wright
 Subchapter V Trustee:       Cole Hayes

Ownership:
 100% membership interests are owned by Bryan Bullerdick




Factors Contributing to Bankruptcy Filing:
 Entry of judgment and litigation costs




Compliance with Operating Order:
 Collateralization of Truist account completed by BA.




Plan Formulation:
 Plan filed on February 24, 2023; objection deadlines extended to April 18, 2023 by order of court




Creditors Present:   No / Yes (see attached)

Items Requested / Additional Requirements:         No / Yes (see attached)


                                            /s/ Shelley K. Abel
                                     Presiding Officer
     Case 23-30013    Doc 119   Filed 03/22/23 Entered 03/22/23 17:51:21   Desc Main
                                 Document     Page 2 of 2




Creditors Present

Glenn Thompson for John Bean Technologies Corp.
Marc Buchman for Philadelphia Insurance Companies
Charlie Livermon for Truist Bank
Ellen Kennedy for Queen City Supply Co.
Patti Halloran for Jacksonville Aviation Authority
Deborah Fletcher for Glenelg Construction
